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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: April 27, 2021

* * * * * * * * * * *                        *    *
KASEY PIENTOWASKI on behalf of               *             Unpublished
J.S., a minor,                               *
                                             *
              Petitioner,                    *             No. 17-1769V
                                             *
v.                                           *             Special Master Gowen
                                             *
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *             Attorneys’ Fees and Costs;
                                             *             Interim Award.
              Respondent.                    *
* * * * * * * * * * * * *
Mark T. Sadaka, Law Offices of Sadaka Associates, LLC, Englewood, NJ, for petitioner.
Adriana, R. Teitel, U.S. Department of Justice, Washington, D.C., for respondent.

                 DECISION ON INTERIM ATTORNEYS’ FEES AND COSTS1

       On March 31, 2020, Kasey Pientowaski, on behalf of J.S., a minor (“petitioner”), filed a
motion for interim attorneys’ fees and costs. I hereby GRANT the motion and award
$31,473.77 in interim attorneys’ fees and $12,031.83 in costs.

    I.       Procedural History

        On November 13, 2017, petitioner filed a petition in the National Vaccine Injury
Compensation Program.2 Petition (ECF No. 1). Petitioner alleges that as a result of J.S.
receiving the human papillomavirus (“HPV”) vaccines on November 18, 2014 and January 20,
2016, J.S. developed postural orthostatic tachycardia syndrome (“POTS”), arthritis and

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion is
posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will
be posted on the court’s website without any changes. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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reoccurring headaches. Id. at Preamble. Petitioner filed medical records and an affidavit to
support the claim. ECF Nos. 6, 10-11. On March 28, 2018, the case was transferred to my
docket. Notice of Reassignment (ECF No. 17).

        On January 3, 2019, petitioner filed an expert report from Dr. Yehuda Shoenfeld and
supporting medical literature. See Petitioner’s (“Pet.”) Exhibits (“Ex.”) 12-64. Respondent filed
his Rule 4(c) report on June 17, 2019, recommending against compensation. Respondent
(“Resp.”) Report (“Rept.”) (ECF No. 43). The same day, respondent filed an expert report from
Dr. Jeffry Boris and Dr. Lindsay Whitton. Resp. Exs. A and C.

         On October 29, 2019, I held a Rule 5 status conference, where I requested that petitioner
file any updated medical records. Scheduling Order (ECF No. 48). Petitioner complied with the
order and filed updated records on September 14, 2020 and October 15, 2020. Pet. Exs. 65 and
66. I held another status conference on November 19, 2020, where I ordered the respondent to
file a supplemental expert report and petitioner to file updated medical records as necessary.
Scheduling Order (ECF No. 58). Respondent filed a supplemental report by Dr. Jeffery Boris on
January 19, 2021. Resp. Ex. E.

         On February 24, 2021, petitioner filed this motion for interim attorneys’ fees and costs,
requesting $31,473.77 in attorneys’ fees and $12,031.83 in attorneys’ costs. Pet. Interim Fees
Motion (“Int. Mot.”) Ex. A (ECF No. 62). On March 10, 2021, respondent filed a response to
petitioner’s motion, stating that, “….respondent defers to the Special Master as to whether to
exercise his discretion to award interim attorneys’ fees and costs at this time…..respondent
respectfully recommends that the Special Master exercise his discretion and determine a
reasonable award for attorneys’ fees and costs.” Resp. Response at 4 (ECF No. 64). Petitioner
filed a reply on March 10, 202, requesting the Court to grant the interim fees application for a
total of $43,505.60 in attorneys’ fees and costs. Pet. Reply at 1 (ECF No. 65).

         This matter is now ripe for adjudication.

   II.      Entitlement to Attorneys’ Fees and Costs

                A. Legal Standard

        The Vaccine Act provides that reasonable attorney’s fees and costs “shall be awarded”
for a petition that results in compensation. §15(e)(1)(A)-(B). Even when compensation is not
awarded, reasonable attorneys’ fees and costs “may” be awarded “if the special master or court
determines that the petition was brought in good faith and there was a reasonable basis for which
the claim was brought.” § 15(e)(1). The Federal Circuit has reasoned that in formulating this
standard, Congress intended “to ensure that vaccine injury claimants have readily available a
competent bar to prosecute their claims.” Cloer v. Sec’y of Health & Human Servs., 675 F.3d
1358, 1362 (Fed. Cir. 2012).

        Petitioner has asserted that J.S. was diagnosed with POTS following receipt of the
Gardasil vaccination. POTS has been a condition that has been asserted as a sequela of
vaccination in other cases within the Vaccine Program. Further, petitioner has supported her


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theory with an expert report from a knowledgeable expert. In light of the lack of specific
objections from respondent and my full review of the evidence, I find that this claim was filed
with and has maintained good faith and reasonable basis to date.

               B. Interim Awards

       The Vaccine Act permits interim attorneys’ fees and costs. Avera v. Sec’y of Health &
Human Servs., 515 F.3d 1343, 1352 (Fed. Cir. 2008); Shaw v. Sec’y of Health & Human Servs.,
609 F.3d 1372 (Fed. Cir. 2010). In Shaw, the Federal Circuit held that it was proper to grant an
interim award when “the claimant establishes that the cost of litigation has imposed an undue
hardship.” 609 F.3d at 1375. In Avera, the Federal Circuit stated that “[i]nterim fees are
particularly appropriate in cases where proceedings are protracted, and costly experts must be
retained.” 515 F.3d at 1352. I do not routinely grant interim fee applications. I generally defer
ruling on an interim fee application if: the case has been pending for less than 1.5 years
(measured from the date of filing); the amount of fees requested is less than $30,000; and/ or the
aggregate amount of expert costs is less than $15,000. If any one of these conditions exists, I
generally defer ruling until these thresholds are met or until an entitlement hearing has occurred.
These are, however, only informal requirements, and there are ultimately many factors bearing
on the merit of an interim fee application. I evaluate each one on its own merits.

        This matter has been pending for over three years. Since the petition was filed, petitioner
has filed an expert with supportive medical literature. Additionally, petitioner is requesting fees
and costs in excess of the amounts discussed above, and additional proceedings will likely be
necessary once updated medical records are filed. Therefore, an award of interim fees and costs
is appropriate.

   III.    Reasonable Attorneys’ Fees and Costs

               A. Legal Standard

        As stated above, the Vaccine Act only authorizes “reasonable” attorneys’ fees and costs.
The Federal Circuit has approved use of the lodestar approach to determine reasonable attorneys’
fees and costs under the Vaccine Act. Avera, 515 F.3d at 1349. Using the lodestar approach, a
court first determines “an initial estimate of a reasonable attorneys’ fee by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly rate.’” Id. at
1347-58 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Then, the court may make an
upward or downward departure from the initial calculation of the fee award based on other
specific findings. Id. at 1348. Although not explicitly stated in the statute, the requirement that
only reasonable amounts be awarded applies to costs as well as to fees. See Perreira v. Sec’y of
Health & Human Servs., 27 Fed. Cl. 29, 34 (1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994).

        Special masters have “wide discretion in determining the reasonableness of both
attorneys’ fees and costs.” Hines v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991).
They may look to their experience and judgment to reduce the number of hours billed to a level
they find reasonable for the work performed. Saxton v. Sec’y of Health & Human Servs., 3 F.3d
1517, 1521 (Fed. Cir. 1993). A line-by-line evaluation of the billing records is not required.


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Wasson v. Sec’y of Health & Human Servs., 24 Cl. Ct. 482, 483 (1991), aff’d in relevant part,
988 F.2d 131 (Fed. Cir. 1993 (per curiam).

       The petitioner “bea[rs] the burden of establishing the hours expended, the rates charged,
and the expenses incurred” are reasonable. Wasson, 24 Cl. Ct. at 484. Adequate proof of the
claimed fees and costs should be presented when the motion is filed. Id. at 484, n. 1. Counsel
“should make a good faith effort to exclude from a fee request hours that are excessive,
redundant, or otherwise unnecessary, just as a lawyer in private practice ethically is obligated to
exclude such hours from his fee submission.” Hensley v. Eckerhart, 461 U.S. 424, 434 (1983).

               B. Hourly Rate

       The interim fee decision in McCulloch provides a framework for consideration of
appropriate ranges for attorneys' fees based upon an individual’s experience. McCulloch v. Sec’y
of Health & Human Servs., No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
Court has since updated the McCulloch rates. The Attorneys Forum Hourly Rate Fee Schedules
for 2018-2021 can be accessed online.

        In this case, petitioner requests that their attorney, Mr. Mark Sadaka be reimbursed for
his work performed on this matter between 2016-2020. Pet. Int. Mot. at 4. Specifically,
petitioner requests that Mr. Sadaka be reimbursed at $362.95 per hour for work performed in
2016; $376.38 for work performed in 2017; $396.00 per hour for work performed in 2018;
$405.00 per hour for work performed in 2019; and $422.00 per hour for work performed in
2020. Id. Additionally, he requests that paralegals that performed work on this matter be
reimbursed at hourly rates of $140.00 for work performed in 2016; $145.17 for work performed
in 2017; $150.55 for work performed in 2018; $156.00 for work performed in 2019; and $163.00
for work performed in 2020. Id.

       There rates are generally reasonable and consistent with what Mr. Sadaka have been
awarded by myself and other special masters. Therefore, no reduction to the hourly rate is
necessary.

               C.      Hours Expended

        As previously noted, a line-by-line evaluation of the fee application is not required and
will not be performed. Wasson, 24 Cl. Ct. at 484. Rather, I may rely on my experience to
evaluate the reasonableness of hours expended. Id. Just as “[t]rial courts routinely use their
prior experience to reduce hourly rates and the number of hours claimed in attorney fee requests
…. [v]accine program special masters are also entitled to use their prior experience in reviewing
fee applications.” Saxton, 3 F.3d at 1521.

       Upon review of the invoice submitted with petitioner’s interim fee application, and my
knowledge of the proceedings in the case to date, the number of hours expended appear to be
reasonable and adequately documented. See Pet. Int. Mot. Exhibit A. Accordingly, petitioner
is awarded $31,473.77 in attorneys’ fees.


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                 D. Costs

        Like attorneys’ fees, costs incurred-by counsel or petitioners themselves-must be
reasonable to be reimbursed by the Program. Perreira, 27 Fed. Cl. Ct. 29, 34. Petitioner’s
attorneys’ costs include a filing fee, postage, obtaining medical records, copies and retention of
an expert, Dr. Yehuda Shoenfeld. Pet. Int. Mot. Exhibit A. Petitioner requests reimbursement of
$8,500.00 ($500.00 per hour for 22 hours) for work performed by Dr. Shoenfeld to review case
materials and write a report. Pet. Int. Mot. Exhibit B at 10. It was reasonable for petitioner to
retain Dr. Shoenfeld as an expert in this case and he has received the requested rate in the past.
Therefore, I do not find cause to adjust his rate. Accordingly, petitioner is awarded $12,031.83
in attorney’s costs.

    IV.      Conclusion

  In accordance with the above, petitioner’s motion for interim attorneys’ fees and costs is
GRANTED. Accordingly, I award the following:

          1) A lump sum in the amount of $43,505.60, representing reimbursement for
             interim attorneys’ fees and costs, in the form of a check payable jointly to
             petitioner and Mr. Mark Sadaka of Sadaka Associates, LLC.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
the Court is directed to enter judgment forthwith.3

          IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).


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